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11 United States Secretary of Labor
12
                    IN THE UNITED STATES DISTRICT COURT
13                FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
15                                        Case No. 2:19-cv-03546-TJH-PLAx

16
     JULIE A. SU,1                                       NOTICE OF PLAINTIFF’S
17   Secretary of Labor,                                 MOTION FOR ENTRY OF
18   United States Department of Labor,                  DEFAULT JUDGMENT AND
                                                         PROSPECTIVE INJUNCTION
19                                                       AGAINST DEFENDANTS TL
                                        Plaintiff,
20                 v.                                    FOODS, INC., LILY “MEI”
                                                         TSENG, JIMMY HUYNH, and
21                                                       EXPRESS POULTRY
     KP POULTRY, INC., et al.,
22                                      Defendants.      SERVICES, INC.
23                                                       Hon. Terry Hatter, Jr.
24                                                       Hearing Date: April 10, 2023
25                                                       UNDER SUBMISSION

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27   1
      Julie A. Su became Acting Secretary of Labor on March 13, 2023. Pursuant to Fed. R. Civ. P
28   25(d), the caption has been changed to reflect this.

     NOTICE OF SECRETARY’S MOTION FOR ENTRY OF DEFAULT JUDGMENT AGAINST DEFENDANTS
     TL FOODS, INC., LILY ‘MEI’ TSENG, JIMMY HUYNH, AND EXPRESS POULTRY SERVICES, INC.
     Case No. 2:19-cv-03546-TJH-PLAx
  Case 2:19-cv-03546-TJH-PLA Document 274 Filed 03/30/23 Page 2 of 2 Page ID #:5993




 1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2         PLEASE TAKE NOTICE that, pursuant to Rules 37 and 55 of the Federal
 3 Rules of Civil Procedure, counsel for Plaintiff Martin J. Walsh, Secretary of Labor,
 4 United States Department of Labor will move this Court on Monday, April 24, 2023,
 5 for Default Judgment against Defendants TL Foods, Inc., Lily “Mei” Tseng, Jimmy
 6 Huynh, and Express Poultry Services, Inc.
 7
 8 Respectfully submitted on March 30, 2023.
 9                                               SEEMA NANDA
                                                 Solicitor of Labor
10
11                                               MARC A. PILOTIN
                                                 Regional Solicitor
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13                                               KATHERINE E. CAMERON
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15                                               SONYA SHAO
16                                               Senior Trial Attorney

17                                               s/ Kathryn A. Panaccione
18                                               KATHRYN A. PANACCIONE
                                                 NISHA PAREKH
19                                               Trial Attorneys
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                                                Attorneys for Plaintiff Martin J. Walsh,
21                                              United States Secretary of Labor
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     NOTICE OF SECRETARY’S MOTION FOR ENTRY OF DEFAULT JUDGMENT AGAINST DEFENDANTS
     TL FOODS, INC., LILY ‘MEI’ TSENG, JIMMY HUYNH, AND EXPRESS POULTRY SERVICES, INC.
     Case No. 2:19-cv-03546-TJH-PLAx
